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WESTERN DISTRICT CF WASHINGTON
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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

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MYRIAM ZAYAS,
PLAINTIFF,

Vv.

BRIAN WALTON ETAL,

DEFENDANT(S).

CASE No.: 22-cv-00018 MJP

REPLY TO DEFENDANTS REPLY TO

PLAINTIFFS REPLY

The plaintiff should have a cause of action against the defendants for wasting her and her families
time during the 6th mass extinction. What the government should be worried about instead of stealing
white infants to sell for adoption assistance is the extinction of bugs. Invest in some real gas masks
because when bugs go extinct humans are not expected to survive more than 2 months. These are
facts, global warming is happening these are scientific facts, unlike the defendants basing 100% of
their unlawful removals of infants on “what /f this happens in the future” analogies. Climate change is
real and it’s a fact The defendants likely have NEVER taken a child for actual child abuse in their entire

career.

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Fundamental Rights aco not hang by a tenuous thread of a layman's knowledge of the
niceties of law. It is sufficient if it appears that he is attempting to assert his

constitutional privilege. The plea, rather than the form in which it is asserted. U.S. v

St. Pierre, Supra, 128 F 2d. The law will protect an individual who, in the prosecution

of a right does everything, which the law requires him to do, but fail to obtain his right
by the misconduct or neglect of a public officer. Lyle v Arkansas, 9 Howe, 314, 18 L.
Ed, 158,

Plaintiff cannot be bound by contract that she has not made or authorized. Free

consent is an indispensable element in making valid contracts. Montgomery v State

55 Fla. 97-4580.879

The Department of Children Youth and Families is a cesspool of discrimination they
knowingly, intentionally and maliciously target white women for reasons of adoption
and use African American and African state officials to do it CPS needs to be
abolished. Not white people or white men, white women because only women can get
pregnant, and their goal is white newborns. They are hiring for manager positions
from Africa right now, so is the Department of Corrections and the New York Police
Department, and well over 30 clinics and hospitals in the US that care specifically for

“children”:

https://indafrica.com > deyf-human-resources-phone-nu...

dcyf human resources phone number - indAfrica

Feb 21, 2022 ~ Find the latest and most accurate information on Vancouver DCYF Office.
Marcos Radriquez comes to us from the Department of Corrections and ...

https://dranabtawi.com » vdpkp > dcyf-human-resource... 3

dcyf human resources phone number

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Marcos Rodriguez is the Director of Human Resources at DCYF, he makes $132,000

per year to h:re immigrants to come to the US and work for the US government.

The state official that delivered plaintiffs removal order on 03/16/2020 was African and
likely not a US citizen. Plaintiff cannot believe she is right they are racist. Finding this
has caused even more emotional distress beyond reasonable explanation, plaintiff
has spent more than 15 years trying to be perfect when it was her skin color and
stupidity the entire time, she could never change that. Stupid people better bea

protected class.

Individuals aren’t immune for the results of their official conduct simply because they
were enforcing policies or orders. Where a statute authorizes official conduct, which
is patently violation of fundamental constitutional principles, an officer who enforces
that statute is not entitled to qualified immunity. Grossman v. City of Portland, (9th
Cir. (1994), Qualified immunity shields a government official from liability for civil

damages if (1) the law governing the official's conduct was clearly established; and

(2) under that ‘aw, the official objectively could have believed that her conduct was

lawful. Mabe v. San Bernardino County, 237 F.3d 1101, 1106 9th Cir. 2001

The law was clearly established at the time of the official defendants conduct:

1. Felony Forgery RCW 9A.60.020(1)(b)

2. Intimidating a witness. RCW 9A.72.110(1)(d)

3. Perjury in the first-degree RCW 9A.72.020(1)

4. Discrimination, preferential treatment prohibited. RCW 49.60.400(1)
5. RCW 13.34.110(3)(a)

The qualified immunity RCW 9.46.212 says “person” and not fetus. Defendant’s
immunity would have to be changed to include fetus or they lack jurisdiction over the
fetus. Each of Defendants immunity only covers the “child” or the “person.”

Defendants at all times relevant acted with gross negligence and bad faith.

When a judge knows that she lacks jurisdiction or acts in the face of clearly valid

statutes expressly depriving her of jurisdiction, judicial immunity is lost. Rankin v.

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Howard 1980 633 F.2d 844, cert den. Zeller v. Rankin, 101 S. Ct. 2020, 451 U.S. 939, 68
L.Ed 20 326._ A judge must be acting within her jurisdiction as to subject matter and

person, to be entitled to immunity from civil action for her acts.. Davis v. Burris, 57

Ariz. 220,75 P.2d 689 1938. The 11th amendment was not intended to afford

[defendants] freedom from liability in any case where, under the color of their office
they have injured one of the state’s citizens to grant them such immunity would be to
create privileged class free from liability from wrongs inflicted or injuries threatened
public agents must be liable to the law unless they are to be put above the law. O/d
Colony Trust Company vs City of Seattle et al. 06/01/06 271 U.S. 426, 46 S Ct. 552, 70 L.
Ed at page 431 164, The US Supreme Court stated that when a state officer acts under

a state law in « manner violative of the federal constitution, he/she comes into conflict
with the superior authority of that Constitution, and s/he is in that case stripped of
her/his official or representative character and is subjected in her/his person to the
consequences of her/his individual conduct. The state has no power to impart to
her/him any immunity from the responsibility to the supreme authority of the United
States. Scheuer v. Rhodes, 416 U.S. 232, 94 S. Ct. 1683. 1687 1974. State Judges, as
well as federal, have the responsibility to respect and protect persons from violations

of federal constitutional rights. Gross v. State of Illinois, 312 F 2d 257: (1963). The

Constitution also protects "the individual interest in avoiding disclosure of personal
matters." Federal Courts (and State Courts), under Griswold can protect, under the
"life, liberty and pursuit of happiness" phrase of the Declaration of Independence,
the right of a man to enjoy the mutual care, company, love and affection of his
children, and this cannot be taken away from him without due process of law. There
is a family rigit to privacy which the state cannot invade or it becomes actionable for

civil rights damages. Griswold v. Connecticut, 381 US 479, (1965), State's power to

legislate, adjudicate and administer all aspects of family law, including
determinations of custodial; and visitation rights, is subject to scrutiny by federal
judiciary within reach of due process and/or equal protection clauses of 14th
Amendment. /n U.S. Supreme Court case Marshall v. Marshall US (No. 04-1544) 392 F.
3d 1118.

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Plaintiff has a right to redress for felonies committed, the defendants and their illegal
immigrant co-workers have been harassing the plaintiff and all her children for 15
years, the plaintiff has a child young enough that they will be back and have already
tried to take this 6-month-old infant. The plaintiff can not put her child in the schools
closest to her home now because she has sued their favorite teacher for committing
perjury at the s‘aintiff's dependency trial, of which defendant judge allowed, accepted
and stated this teacher's perjury was the reason she would keep her child for 2 years
now. A lot of people are going to get fired for these felonies and they ail know the
plaintiffs address she has young children, and they may retaliate as they are actively
retaliating now in their official position, the plaintiff is not safe living here in this

state. She will require the damages for this reason.

My name is Myriam Zayas lam above the age of 18. | certify and declare, under
penalty of perjury, that everything stated herein, is the truth to the best of my
knowledge. This court is governed by the laws of the state of Washington in the
United States. Today’s date is April 3 , 2022.

Date of signing:

/s/Myriam Zayas

Pro Se piaintiff Signature: Uyswain Yaga

Printed Name and email:

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